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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY

  EMERGENCY PHYSICIANS OF ST.                 Civil Action No.
  CLARE’S, LLC, MERCER BUCKS                  09-cv-6244-WJM-MF
  ORTHOPEDICS, PC, and PASCACK
  EMERGENCY SERVICES,                         Motion Date: March 15, 2010
                                              Oral Argument Requested
  On behalf of themselves and all others
  similarly situated,
                                              [Filed Electronically]
              Plaintiffs,
  v.

  PROASSURANCE CORPORATION,
  PROASSURANCE CASUALTY
  COMPANY, and PROASSURANCE
  INDEMNITY COMPANY, INC.,

              Defendants.


       BRIEF IN SUPPORT OF DEFENDANTS’ MOTION TO COMPEL
        ARBITRATION OR, IN THE ALTERNATIVE DISMISS THE
                           COMPLAINT


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        Pursuant to Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6),

  Defendants ProAssurance Corporation, ProAssurance Casualty Company, and

  ProAssurance Indemnity Company, Inc. move this Court to either compel

  arbitration or, in the alternative, dismiss this case.

         BACKGROUND AND SUMMARY OF PLAINTIFFS’ CLAIMS 1

        The individual defendants, ProAssurance Corporation (“ProAssurance”),

  ProAssurance Indemnity Company, Inc. (“ProAssurance Indemnity”) and

  ProAssurance Casualty Company (“ProAssurance Casualty”), are related entities

  involved in the sale of medical malpractice insurance. Compl. ¶ 15. Among the

  policies sold by defendants are “claims-made” policies, which cover the

  policyholder for alleged incidents of malpractice that occur on or after the

  applicable “retroactive date” for coverage and are first reported during the policy

  period. Compl. ¶ 2. If a claims-made policy is not renewed for an additional term

  at its expiration, a policyholder has the right to purchase an Extended Reporting

  Period (“ERP”) endorsement, which provides coverage for alleged incidents of

  1
         The facts set forth are culled from the Complaint and incorporated
  documents which for purposes of a motion to dismiss must be taken as true and
  viewed in the light most favorable to the plaintiff. See Warth v. Seldin, 422 U.S.
  490, 501 (1975); Trump Hotels & Casino Resorts, Inc. v. Mirage Resorts Inc., 140
  F.3d 478, 483 (3d Cir. 1998). This assumption of truth is inapplicable, however, to
  legal conclusions couched as factual allegations or to “[t]hreadbare recitals of the
  elements of a cause of action, supported by mere conclusory statements.” Ashcroft
  v. Iqbal, --- U.S. ----, ----, 129 S.Ct. 1937, 1949, 173 L.Ed.2d 868 (2009).
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  malpractice that occurred during the coverage period but are first reported after

  the policy period ends. Compl. ¶ 2.

        Plaintiffs Mercer-Bucks Orthopedics, PC (“Mercer-Bucks”), Pascack

  Emergency Services, PA (“Pascack”), and Emergency Physicians of Saint Clare’s

  (“Emergency Physicians”) are group medical practices each of which purchased a

  claims-made policy and subsequently purchased ERP endorsement from

  ProAssurance Casualty. Compl. ¶¶ 26-27, 29, 34-35, 38, 42-43, 45.

        Plaintiffs hope to bring this action against defendants on behalf of two

  putative classes. Compl. ¶ 20. The first putative class consists of:

               all former New Jersey policyholders of defendants
               terminating during 2003, 2004 or 2005 who purchased
               ERP endorsements from defendants and were charged the
               rate defendants had filed for ERP endorsements covering
               claims arising after the termination of plaintiffs’ policies,
               rather than the filed rate for ERP endorsements
               pertaining to plaintiffs’ policies.

  Compl. ¶ 20 (emphasis added). The second, and larger, putative class consists of:

               all former policyholders of defendants terminating during
               2003, 2004 or 2005 who purchased ERP endorsements
               from defendants and were charged the rate defendants
               had filed for ERP endorsements covering claims arising
               after the termination of plaintiffs’ policies, rather than the
               filed rate for ERP endorsements pertaining to plaintiffs’
               policies.

  Id. at ¶ 20 (emphasis added).




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        Plaintiffs allege that, if malpractice insurance companies wish to change

  their rates, they must file those new rates with the New Jersey Department of

  Banking and Insurance (“DOBI”) and are then bound by those rates. Compl. ¶¶

  22-25.

        Mercer-Bucks is a group medical practice incorporated and located in New

  Jersey that purchased a claims-made malpractice insurance policy from

  ProAssurance Casualty. Compl. ¶¶ 13, 26-27. In a letter dated October 30, 2003,

  ProAssurance Casualty notified Mercer-Bucks that it would not be renewing

  Mercer-Bucks’ policy effective December 31, 2003, but that Mercer-Bucks could

  purchase an ERP endorsement from ProAssurance Casualty for the premium

  amount set forth in that letter. Compl. ¶¶ 28-30. Mercer-Bucks alleges that

  ProAssurance Casualty overcharged Mercer-Bucks for the ERP endorsement by

  charging the rate effective January 1, 2004 instead of the rate that was effective on

  December 31, 2003, the date the ERP endorsement became effective. Compl. ¶¶

  32-33.

        Emergency Physicians is a group medical practice incorporated and located

  in New Jersey that purchased a claims-made malpractice insurance policy from

  ProAssurance Casualty. Compl. ¶¶ 12, 42-43. Emergency Physicians alleges that

  on or about January 24, 2005, ProAssurance Casualty sent it a letter confirming

  that Emergency Physicians had cancelled its policy with ProAssurance Casualty,



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  that this cancellation was effective December 31, 2004, and that for $846,000

  Emergency Physicians could purchase an ERP endorsement.              Compl. ¶ 44.

  Emergency Physicians alleges that ProAssurance Casualty overcharged Emergency

  Physicians for the ERP endorsement by charging the rate effective January 1, 2005

  instead of the rate effective December 31, 2004. Compl. ¶¶ 46-47. However, the

  rate effective December 31, 2004 was the same rate effective January 1, 2005

  because Emergency Physicians rate changes for 2005 were not effective until April

  1, 2005. Declaration of Michael Dinger (“Dinger Decl.”), Exh. D. 2

        Pascack is a group medical practice incorporated and located in New Jersey

  that purchased a claims-made malpractice insurance policy from ProAssurance

  Casualty. Compl. ¶¶ 14, 34-35. Pascack alleges that ProAssurance Casualty

  notified Pascack that it would not be renewing Pascack’s policy effective June 30,

  2004, but that, for $283,084, Pascack could purchase an ERP endorsement.

  Compl. ¶¶ 36-37. Unlike Mercer-Bucks and Emergency Physicians, who both

  allege that the cost of their ERP endorsements should have been based on the rate



  2
         Because ProAssurance Casualty’s rate filings with DOBI are referenced,
  quoted and relied upon in the Complaint (see, e.g., ¶¶ 25, 46, 49, 55), as are the
  Plaintiffs’ insurance policies, the Court may properly consider them in their
  entirety in deciding this Motion. See, e.g., Tellabs, Inc. v. Makor Issues & Rights,
  Ltd., 127 S.Ct. 2499, 2509 (2007) (citing 5B Wright & Miller § 1357 (3d ed. 2004
  and Supp. 2007) (on a motion to dismiss under Fed. R. Civ. P. 12(b)(6), the Court
  may consider “documents incorporated into the complaint by reference, and
  matters of which a court may take judicial notice.”)).


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 in effect on the effective date of their ERP endorsements—which in both cases was

 December 31—Pascack alleges that the rate in effect on the effective date of its

 ERP endorsement, which was June 30, 2004, should not apply and instead it

 should have been charged some other, undisclosed lower rate. Compl. ¶¶ 38, 40-

 41.

       Plaintiffs’ first cause of action alleges that defendants violated the New

 Jersey Consumer Fraud Act (“NJCFA”) by overcharging Plaintiffs for ERP

 endorsements (¶48) and failing to inform Plaintiffs that they were overcharging

 them (¶49). Plaintiffs’ second cause of action alleges breach of contract based on

 the same alleged conduct.      ¶¶54-55.       Plaintiffs’ third cause of action seeks

 disgorgement of all overcharges and “an accounting of all payments charged and

 received by defendants for ERP endorsements pertaining to policies issued in

 2003, 2004 and 2005” based on the same alleged conduct. ¶¶61-66.

       Plaintiffs’ causes of action fail to state any valid claims and should therefore

 be dismissed.




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                                    ARGUMENT

 I.    THE FEDERAL ARBITRATION ACT REQUIRES THAT
       PLAINTIFFS ARBITRATE THE CLAIMS ASSERTED IN THIS
       CASE.
       All three of the Plaintiffs in this case contractually agreed that “[a]ny

 dispute, claim or controversy arising out of, relating to or in connection with this

 policy . . . shall be submitted to binding arbitration.” Dinger Decl. Exhs. A, B and

 C at ¶ XIII (hereinafter, the “Policies”). Therefore, the Federal Arbitration Act 3

 prohibits Plaintiffs’ attempt to litigate their claims in this Court and requires this

 case be sent to arbitration. “By its terms, the [FAA] leaves no place for the

 exercise of discretion by a district court, but instead mandates that district courts

 shall direct the parties to proceed to arbitration on issues as to which an arbitration

 agreement has been signed.” Dean Witter Reynolds, Inc. v. Byrd, 470 U.S. 213,

 218 (1985)(emphasis in original); see also Gay v. CreditInform, 511 F.3d 369, 387

 (3d Cir. 2007)(finding that “in determining whether a matter should be arbitrated,



 3
        9 U.S.C. §§ 1-16; Perry v. Thomas, 482 U.S. 483, 489 (1987). The
 Plaintiffs have agreed that each of their policies with ProAssurance Casualty
 “evidences a transaction involving interstate commerce.” Dinger Decl. Exhs. A, B
 and C at ¶ XIII. Moreover, the plaintiffs’ have agreed that “the Federal Arbitration
 Act . . . shall apply to the rights and obligations of the parties’ to submit any
 dispute, claim or controversy arising under [their policies] to arbitration.” Id. at ¶
 XIV. See Staples v. The Money Tree, Inc., 936 F.Supp. 856, 585 (M.D. Ala.
 1996)(relying on Volt Info. Sciences v. Bd. of Trustees, 489 U.S. 468, 479 (1989) to
 find that FAA applied to the parties’ arbitration agreement in instance where the
 parties’ stipulated that the contract between them involved interstate commerce).


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 there is a strong presumption in favor of arbitration, and doubts concerning the

 scope of arbitrable issues should be resolved in favor of arbitration.”).

       When considering a motion seeking to compel arbitration, the Court need

 only resolve two issues: “(1) whether a valid agreement to arbitrate exists and (2)

 whether the particular dispute falls within the scope of that agreement.” Trippe

 Manufacturing Co. v. Niles Audio Corp., 402 F.3d 529, 532 (3d Cir. 2005); see

 also 9 U.S.C. §§ 3, 4. When determining both the existence and the scope of an

 arbitration agreement, there is a presumption in favor of arbitrability. E.g., AT & T

 Techs., Inc. v. Commc'ns Workers of Am., 475 U.S. 643, 648 (1986); United

 Steelworkers of Am. v. Rohm & Haas, Co., 522 F.3d 324, 331 (3d Cir. 2008).

 Moreover, the burden is on the party opposing arbitration to prove its claims

 should not be sent to arbitration. Green Tree Fin. Corp v. Randolph, 531 U.S. 79,

 91 (2000). Plaintiffs cannot satisfy their burden because the face of the Complaint,

 and the policies incorporated by reference, demonstrate that an agreement to

 arbitrate is an integral part of Plaintiffs’ policies and the scope of the arbitration

 agreement in each of the Policies encompasses Plaintiffs’ dispute over the rates.

       A.     It Cannot Be Disputed That a Valid Agreement To Arbitrate
              Exists Between Plaintiffs and ProAssurance Casualty.

       The FAA makes arbitration agreements “valid, irrevocable, and enforceable”

 absent some grounds existing at law or in equity that require the revocation of the




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 contract containing the arbitration agreement. 9 U.S.C. § 2. The Complaint

 contains no allegations that would require revocation of the Policies. 4

       It is also undisputed that each of the Plaintiffs’ Policies contains the

 following arbitration provision:

              Any dispute, claim or controversy arising out of, relating
              to or in connection with this policy, its subject matter or
              its negotiation, as to the existence, validity,
              interpretation,      performance,        non-performance,
              enforcement, operation, breach of contract, breach of
              warrant, continuance or termination thereof or any claim
              alleging fraud, deceit, or suppression of any material fact
              or breach of fiduciary duty shall be submitted to binding
              arbitration in accordance with Title 9 U.S.C. § 1 et seq.
              (The United States Arbitration Act) and the Commercial
              Arbitration Rules of the American Arbitration
              Association. . . . The provisions hereof shall be a
              complete defense to any suit, action, or proceeding in any
              federal, state or local court or before any administrative
              tribunal with respect to any dispute, claim or controversy
              arising under this policy.



 4
       Plaintiffs are sophisticated parties and have failed to plead any allegations
 that would support revocation of the arbitration agreement. See, e.g., Kisner v.
 Bud’s Mobile Homes, 512 F.Supp.2d 549 (S.D.Miss. 2007) (finding that “[w]hile
 an agreement to arbitrate is not inherently unfair or unconscionable, a plaintiff may
 prove procedural unconsionability if she proves a lack of knowledge, lack of
 voluntariness, inconspicuous print, the use of complex legalistic language,
 disparity in sophistication or bargaining power of the parties and/or a lack of
 opportunity to study the contract and inquire about the contract terms”); In the
 matter of Ferrara, 441 F. Supp. 778 (S.D.N.Y. 1977) (finding arbitration
 agreement enforceable where the arbitration provision was noticeable in the
 contract, there were no allegations of fraud or duress in signing or inducing the
 contract, and there was no showing of unequal bargaining power or sophistication
 between the contracting parties).


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 Dinger Decl., Exhs. A, B and C at ¶ XIII (emphasis in original). Therefore, as

 there is a valid, binding contract containing a broad arbitration provision, this case

 should be sent to arbitration.

       B.     It Cannot Be Disputed That Plaintiffs’ Claims Are Within the
              Scope of the Arbitration Agreements.
       Plaintiffs also fail to meet their burden that the claims asserted in this case

 are outside the scope of the arbitration agreements. Plaintiffs have asserted claims

 for breach of contract, accounting/unjust enrichment, and violation of the New

 Jersey Consumer Fraud Act, all of which clearly arise out of, relate to, or have a

 connection with the Policies. See, e.g., Compl. ¶¶ 1, 4, 32, 40, 46, 53, 54, 56. 5 It

 is evident from the face of the Complaint that Plaintiffs’ claims are not just

 tangentially connected to the Policies but are integrally dependent upon the

 Policies. Therefore, Plaintiffs’ claims are easily within the expansive scope of the

 arbitration agreements.




 5
        For instance, the provision applies to any claims “arising out of . . . the
 policy,” which has routinely been afforded an expansive interpretation to include
 any dispute that is in any way connected to the contract. E.g., Medtronic AVE Inc.
 v. Cordis Corp., 100 Fed. Appx. 865 (3d Cir. 2004); Battaglia v. McKendry, 233
 F.3d 720 (3d Cir. 2000); Sweet Dreams Unlimited, Inc. v. Dial-A-Mattress Int’l,
 Inc., 1 F.3d 639, 642 (7th Cir. 1993); see also Yale Materials Handling Corp. v.
 White Storage & Retrieval Systems, Inc., 573 A.2d 484 (N.J. Supp. Ct. App. Div.
 1990) (finding that arbitration provision covering claims “relating to” contract is
 even broader than provisions only covering claims arising out of contract).


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       C.     Plaintiffs Must Also Be Compelled to Arbitrate Their Claims
              Against ProAssurance Corporation and ProAssurance Indemnity
              Even Though They Are Not Signatories to the Policies.
       Plaintiffs are also required to arbitrate their claims against ProAssurance

 Corporation and ProAssurance Indemnity even though they are not signatories to

 the Policies. Claims against non-signatories are subject to arbitration if the issues

 to be litigated are intertwined with the agreement containing the arbitration clause.

 See Bruno v. Mark MaGrann Assoc., 909 A. 2d 768 (N.J. Supp. Ct. App. Div.

 2006)(compelling arbitration on behalf of non-signatories when claims against

 them were factually the same as those against signatory and claims arise out of

 contract containing broad arbitration provision); see also JLM Indus., Inc. v. Stolt-

 Nielsen, S.A., 387 F.3d 163 (2d Cir. 2004)(recognizing a non-signatory’s right to

 compel arbitration based on the principle of equitable estoppel). Because all of

 Plaintiffs’ claims arise from the Policies, the claims against ProAssurance

 Corporation and ProAssurance Indemnity are certainly intertwined with the

 Policies.

       Plaintiffs repeatedly refer to the Defendants collectively and without

 distinction. See, e.g., Compl. ¶ 33 (“Defendants overcharged plaintiff MBO for its

 ERP endorsement.”)(emphasis added); ¶ 41 (“Defendants overcharged plaintiff

 PES for its ERP endorsement.”)(emphasis added); ¶ 47 (“Defendants overcharged

 plaintiff EPSC for its ERP endorsement.”)(emphasis added); ¶ 56 (“Defendants



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 breached their contracts with plaintiffs. . . .”)(emphasis added). As discussed

 below, Plaintiffs have not asserted viable claims against ProAssurance Corporation

 and ProAssurance Indemnity because neither of those entities were parties to the

 Policies.      The Policies, however, provide the only possible nexus between

 Plaintiffs on the one hand and ProAssurance Corporation and ProAssurance

 Indemnity on the other. Thus, to the extent Plaintiffs possess any possible claims

 against ProAssurance Corporation and ProAssurance Indemnity, those claims

 unquestionably arise from the Policies.           Further, the terms of the arbitration

 agreement in each of the Policies are broad enough to encompass any claims

 Plaintiffs may have against ProAssurance Corporation and ProAssurance

 Indemnity. Accordingly, as Plaintiffs’ claims against ProAssurance Corporation

 and ProAssurance Indemnity are inextricably intertwined with the Policies, and

 indeed the Policies constitute the only nexus between Plaintiffs and those two

 entities, those claims should be subject to arbitration if they are allowed to proceed

 at all.

           D.    Plaintiffs’ Class Allegations Do Not Alter the Binding Nature of
                 Their Agreement to Arbitrate Their Claims.
           Plaintiffs’ assertion that this case should be certified as a class action is no

 impediment to arbitration.         The United States Supreme Court has held that

 procedural decisions, such as whether arbitration should proceed as a class action,

 are for the arbitrator to decide. See Green Tree Fin. Corp. v. Bazzle, 539 U.S. 444


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 (2003) (finding that issues regarding what kind of arbitration proceeding the parties

 agreed to are procedural and for the arbitrator to decide); see also Howsam v. Dean

 Witter Reynolds, Inc., 537 U.S. 79, 84 (2002) (finding that “procedural questions

 which grow out of the dispute and bear on its final disposition are presumptively

 not for the judge, but for an arbitrator.”). Therefore, any dispute over whether

 Plaintiffs’ claims can proceed as a class action is a procedural dispute and, thus,

 squarely within the broad scope of the arbitration agreements.           See Certain

 Underwriters at Lloyd’s London v. Westchester Fire Ins. Co., 489 F.3d 590 (3d

 Cir. 2007) (following Green Tree and finding that the question of whether the

 parties agreed to individualized or consolidated arbitration proceedings is a matter

 of procedure and an issue for the arbitrator to resolve); St. Louis Chiropractic v.

 Fed. Ins. Co., 2008 WL 4056225 (D.N.J. Aug. 26, 2008) (relying on Green Tree to

 find that class action complaint is subject to dismissal based on existence of valid

 arbitration agreement); Advanced Acupuncture Clinic, Inc. v. AllState Ins. Co.,

 2008 WL 4056244 (D.N.J. Aug. 26, 2008) (same). Otherwise, any plaintiff could

 avoid arbitration by merely making class allegations.            See, e.g., Howard v.

 Klynveld Peat Marwick Goerdeler, 977 F.Supp. 654, 665 n. 7 (S.D.N.Y. 1997)

 (finding that a plaintiff, who has agreed to arbitrate all claims arising out of her

 employment, may not avoid arbitration by pursuing class claims).




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 II.   If This Court Does Not Compel Arbitration, Plaintiffs’ Claims Should
       Nevertheless Be Dismissed.

       As defendants will demonstrate, Plaintiffs’ claims should also be dismissed

 because Mercer-Buck’s claims are untimely, Pascack’s claims are contradicted by

 the factual allegations in the Complaint and Emergency Physician’s claims are

 contradicted by the very documents upon which they rely. Moreover, Plaintiffs

 lack standing to assert claims against ProAssurance Corporation and ProAssurance

 Indemnity, and, even if they had standing, the factual allegations in the Complaint

 are insufficient to sustain claims against these entities.

       A.     Mercer-Bucks’ Claims Are Time-Barred.
       The statute of limitations is six years for breach of contract, consumer fraud

 and accounting/unjust enrichment claims. N.J.S.A. 2A:14-1. “[A] claim accrues,

 for statute of limitations purposes, on the date on which the right to institute and

 maintain a suit first arose.” County of Morris v. Fauver, 707 A.2d 958, 971 (N.J.

 1998) (internal quotations omitted).

       Mercer-Bucks concedes that on or about October 30, 2003, ProAssurance

 Casualty notified Mercer-Bucks that it could purchase an ERP endorsement at a

 rate that was allegedly higher than that provided for in Mercer-Bucks’ policy.

 Compl. ¶¶ 28, 30, 32-33. That knowledge of an injury and its cause triggered the

 limitations period for each of Mercer-Bucks’ claims. Thus, the limitations period

 expired on or about October 30, 2009, approximately one month before the filing


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 of this lawsuit, and therefore all of Mercer-Bucks’ claims are untimely and should

 be dismissed.

       B.    Emergency Physicians Was Charged the Correct Premium.

       Emergency Physicians also alleges that ProAssurance Casualty failed to

 charge the correct premiums on its ERP endorsement. Emergency Physicians

 alleges that the effective date of the ERP endorsement was December 31, 2004 and

 the rate charged should have been the rate effective on that date. Compl. ¶ 46.

 Emergency Physicians alleges that ProAssurance Casualty overcharged Emergency

 Physicians by applying the rate that went into effect on January 1, 2005, which

 they allege was higher.

       This argument proceeds from the false premise that ProAssurance Casualty

 changed its rates for this filing on January 1, 2005. In fact, ProAssurance Casualty

 did not change the rates in effect on December 31, 2004 until April 1, 2005.

 Dinger Decl. Exh. D. Thus, the effective rate was the same on December 31, 2004

 and January 1, 2005. Accordingly, Emergency Physicians claims are belied by the

 very filing upon which they rely and, therefore, all claims asserted by Emergency

 Physicians should be dismissed.

       C.    It Is Apparent From the Face of the Complaint that Pascack Was
             Charged the Correct Premium.
       As set forth above, the theory of Plaintiffs’ case is that they should have

 been charged the rate in effect on the effective date of their ERP endorsement.


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 Mercer-Bucks and Emergency Physicians both allege that their ERP endorsements

 were effective December 31, 2003 and December 31, 2004, respectively, but they

 were improperly charged the rate effective January 1 of the following year.

 Compl. ¶¶ 32-33, 46-47.

       Pascack similarly alleges that ProAssurance Casualty failed to charge

 premiums on its ERP “in accordance with our rules, rates, rating plan, and

 premiums applicable on the effective date of the endorsement.” Compl. ¶ 40.

 Pascack alleges that “the effective date of the ERP endorsement was June 30,

 2004.” Compl. ¶ 40. But then, without any explanation and contrary to Mercer-

 Bucks and Emergency Physicians, Pascack alleges that the rate in effect on June

 30, 2004 should not apply and instead they should have been charged some other,

 undisclosed lower rate. Compl. ¶¶ 38, 40-41. Clearly, in light of Plaintiffs’ own

 theory of the case, there can be no dispute that ProAssurance Casualty applied the

 appropriate rate when it charged Pascack the rate in effect on June 30, 2004, the

 effective date of the ERP endorsement. Accordingly, Pascack has failed to allege a

 valid claim and all of its claims should be dismissed.

       D.     Plaintiffs Lack Standing to Assert Claims Against ProAssurance
              Corporation and ProAssurance Indemnity.

       Plaintiffs’ claims should also be dismissed because they have no standing to

 assert claims against ProAssurance Corporation and ProAssurance Indemnity.

 Storino v. Borough of Pt. Pleasant Beach, 322 F.3d 293, 296 (3d. Cir. 2003); see


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 also Weiner v. Bank of King of Prussia, 358 F.Supp. 684, 694 (E.D.Pa.

 1973)(“Standing to sue is an essential threshold which must be crossed before any

 determination as to class representation under Rule 23 can be made. Without

 standing, one cannot represent a class, but standing to sue does not, of itself,

 support the right to bring a class action.”). To establish standing, a “plaintiff must

 show that he personally has suffered some actual or threatened injury as a result of

 the putatively illegal conduct of the defendant and the injury must be concrete and

 capable of being redressed by the court should the plaintiff prevail on the merits.”

 Taliaferro v. Darby Township Zoning Bd., 458 F.3d 181, 188-189 (3d Cir. 2006).

       The Plaintiffs’ claims for breach of contract, consumer fraud, and

 accounting/unjust enrichment claims arise from their Policies with ProAssurance

 Casualty—not with ProAssurance Corporation and ProAssurance Indemnity,

 which never entered into a contract with Plaintiffs or had any other dealings with

 Plaintiffs. Compl. ¶¶ 22-32, 34-40, 42-46. Thus, even assuming that Plaintiffs

 allegations are true, none of their alleged injuries are traceable to ProAssurance

 Corporation or ProAssurance Indemnity.

       Without a “casual connection” between the Plaintiffs’ alleged injuries and

 the conduct of either ProAssurance Corporation or ProAssurance Indemnity,

 Plaintiffs have no standing to assert their claims against ProAssurance Corporation

 or ProAssurance Indemnity. See Johnson v. Geico Casualty Co., 2009 WL



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 4799214 (D.Del. Dec. 11, 2009)(finding plaintiffs lacked standing to bring putative

 class action against third-party insurers when plaintiffs’ alleged injuries arose our

 of conduct relating to their policies with other insurers).        Without standing,

 Plaintiffs’ claims against ProAssurance Corporation and ProAssurance Indemnity

 should be dismissed.

       E.     Plaintiffs Fail To Allege Sufficient Factual Allegations Against
              ProAssurance Corporation and ProAssurance Indemnity to
              Sustain Any Claims Against These Entities
       A plaintiff must allege sufficient facts to put each individual defendant on

 notice of the claims against it. Iqbal, 129 S.Ct. at 1949. Plaintiffs, therefore, must

 plead sufficient facts, not against a group of defendants collectively, but for each

 individual defendant separately. Lumping defendants together and jointly pleading

 against them is insufficient as a matter of law. Smith v. Cavalier Builders, Inc.,

 2008 WL 819960, *4 (D.N.J. 2008) (“plaintiffs’ claim for breach of contract lumps

 together defendants Cavalier, Crest Homes and Lee Mills so that it is not clear

 what allegations are specific to Crest Homes.[] Therefore, plaintiffs have not plead

 facts that if true could allow a fact finder to find in their favor and their claim for

 breach of contract against Crest Homes is dismissed.” ); id. at *5; Pietrangelo v.

 NUI Corp., 2005 WL 1703200, *10 (D.N.J. 2005) (holding that the plaintiff failed

 to comply with Fed. R. Civ. P. 8(a) because the complaint failed to differentiate

 between the defendants); Kennilworth Partners L.P. v. Cendant Corp., 59



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 F.Supp.2d 417, 430 (D.N.J.1999) (dismissing complaint in which “plaintiffs [ ]

 lump[ed] the defendants together and ma[d]e general conclusory allegations of

 wrongdoing.”).

        As set forth above, Plaintiffs' claims arise from their relationships and

 dealings with ProAssurance Casualty. Compl. ¶¶ 26-30, 34-39, 42-45. There are

 no specific factual allegations against ProAssurance Corporation and ProAssurance

 Indemnity and, thus, it is unclear what role, if any, these two corporate entities

 allegedly played in this case. Plaintiffs simply make the conclusory allegations

 that “defendants violated the New Jersey Consumer Fraud Act” (Compl. ¶51),

 “defendants breached their contracts with plaintiffs” (¶56) and “[d]efendants have

 been unjustly enriched by their wrongful conduct” (¶61) without identifying what

 acts are attributable to each defendant. (Emphasis added). Without supporting

 factual allegations, these legal conclusions against ProAssurance Corporation and

 ProAssurance Indemnity fail to state claims. See, e.g., Cavalier Builders, Inc.,

 2008 WL 819960 at *4-5; Iqbal, 129 S.Ct. at 1949. Accordingly, all claims against

 ProAssurance Corporation and ProAssurance Indemnity should be dismissed in

 their entirety.




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                                    CONCLUSION

       For all the foregoing reasons, we respectfully request that the Court compel

 arbitration or, in the alternative dismiss this case.

 Dated: February 18, 2010

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